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      7
      8                                UNITED STATES DISTRICT COURT
      9                               EASTERN DISTRICT OF CALIFORNIA
     10                                                *****
     11   UNITED STATES OF AMERICA,                     )      Case No CR-08-0212 OWW
                                                        )
     12                                                 )      EX PARTE APPLICATION FOR
                                                        )      AN ORDER TO DISCLOSE THE
     13                          Plaintiffs,            )      SEALED TRANSCRIPT OF THE IN
                                                        )      CAMERA HEARING HELD ON
     14   vs.                                           )      JUNE 23, 2009 AND ORDER
                                                        )      THEREON
     15   SUKHRAJ DHALIWAL                              )
                                                        )
     16                          Defendant.             )
     17
     18          Defendant SUKHRAJ DHALIWAL hereby applies to this Court for an order disclosing
     19   the sealed transcripts of the in camera hearing held on June 23, 2009 to Defendant’s counsel, W.
     20   Scott Quinlan. Defendant’s counsel was appointed to represent him and to prepare on his behalf
     21   post-trial motions for new trial and for an acquittal, and to represent him at sentencing. Defense
     22   counsel is anticipating that a copy of that transcript will be available on Wednesday, November
     23   18, 2009.
     24          There is good cause for this application in that the transcript is of an in camera proceeding
     25   at which co-defendant’s and the government were excluded and only Mr. Dhaliwal’s counsel was
     26   present. That in camera proceeding is represented to be set forth at pages 1322 through 1326 and
     27   1329 through 1346, inclusive, and related to the ramifications and
     28   ///




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      1   consequences of any alleged communications that occurred between the alleged co-conspirators
      2   after the time of arrest that would have been in furtherance of the conspiracy.
      3
      4   Dated: November 17, 2009                              Respectfully submitted,
      5
      6
      7                                                           /s/ W. Scott Quinlan
                                                                W. Scott Quinlan, Attorney for Defendant
      8                                                         SUKHRAJ DHALIWAL
      9
     10
     11          Upon application of the defendant, and GOOD CAUSE APPEARING THEREFOR, it is
     12   ordered that the transcript of the in camera hearing held on June 23, 2009 at pages 1322 through
     13   1326 and 1329through 1346, inclusive, shall be disclosed to counsel for Defendant SUKHRAJ
     14   DHALIWAL and not to co-defendants, co-defendant’s counsel, or the government pending
     15   further order of this Court.
     16
     17   IT IS SO ORDERED
     18
     19   Dated: November 24, 2009                                     /s/ OLIVER W. WANGER
                                                                       Honorable Oliver W. Wanger
     20                                                                United States District Court Judge
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